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                                                                        US OISTHICl COURT
                                                                    EASTERN DIS m1CT 1\I~Ki\NSAS


                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS JAMES W.,h ,/~
                                                    By: -r-=Y-=-ll--...,._,=---"


UNITED PAIN CARE, LTD.
D/B/A UNITED PHARMACY                                                   PLAINTIFF


vs.


CARDINAL HEALTH 110, INC. and
CARDINAL HEALTH 411, INC.                                           DEFENDANTS



      COMPLAINT FOR TEMPORARY RESTRAINING ORDER WITHOUT
         NOTICE, PRELIMINARY INJUNCTION, AND DAMAGES



       Plaintiff, UNITED PAIN CARE, LTD D/B/A UNITED PHARMACY, by its

attorneys, THE LAW OFFICES OF DARREN O'QUINN PLLC, for its

Complaint, states:

                                         I.
                     PARTIES, JURISDICTION, AND VENUE


       1.      UNITED     PAIN   CARE, LTD        D/B/A UNITED         PHARMACY

(hereafter referred to as "UNITED PHARMACY") was at all times relevant to this

litigation a duly licensed pharmacy and corporation organized and existing under
                                                         ;




the laws of the state of Arkansas with its principal place of business located in

Sherwood, Pulaski County, Arkansas. Therefore, UNITED PHARMACY is a

citizen of the state of Arkansas for diversity purposes under 28 U.S. C.§ 1332(c)(l).
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      2.       CARDINAL HEALTH 110, INC. and CARDINAL HEALTH 411,

INC. were at all times relevant to this litigation duly licensed pharmacy wholesale

distributors and corporations organized and existing under the laws of the states of

Delaware and Ohio, respectively, with their principal place of business located in

Dublin, Ohio. Therefore, CARDINAL HEALTH 110, INC. and CARDINAL

HEALTH 411, INC. (hereafter collectively referred to as "CARDINAL HEALTH")

are citizens of the states of Delaware and Ohio, respectively, for diversity purposes

under 28 U.S.C. § 1332(c)(l).

      3.       The claims herein are brought against CARDINAL HEALTH are in

accordance with the substantive laws of the state of Arkansas as set forth in its

common law for money damages for tortious interference with business relations

and breach of contract. The amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between citizens of different States

and, therefore, this court has original jurisdiction for diversity purposes under 28

U.S.C. § 1332(a)(l). Moreover, the claims herein involve the resolution of

substantial questions of the federal Controlled Substances Act (21 U.S. C. §§ 801-

971) and 21 C.F.R. § 1301, et. seq. Therefore, this court has original jurisdiction for

federal question purposes under 28 U.S.C. § 1331.

      4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) in that all, or a

substantial part, of the events or omissions forming the basis of these claims

occurred in the Eastern District of Arkansas.




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                                              II.
                  EVENTS FORMING THE BASIS OF THIS CLAIM


       5.        UNITED PHARMACY is a retail pharmacy located at 7481 Warden

Road, Sherwood, Pulaski County, Arkansas. It has and has always operated with an

active license issued by the Arkansas State Board of Pharmacy, in good standing

with        no     disciplinary     actions         (this   information       available      at

http://www.ark.org/asbp/roster/index.php?g=search/results).

       6.        On November 18, 2010, UNITED PHARMACY, as a member of

Pharmacy Plus Programs, LLC, agreed to be part of a buying group though the

execution of a Member Certification Agreement and thereby became a third-party

beneficiary of a Prime Vendor Agreement between CARDINAL HEALTH and

Pharmacy Plus Programs, LLC. See copy of Member Certification Agreement

attached as Exhibit "A" and Prime Vendor Agreement attached as Exhibit

"B" 1(hereafter collectively referred to as "Agreements").

       7.        Under the Agreements, CARDINAL HEALTH agreed to supply and

UNITED PHARMACY agreed to purchase pharmaceutical products, including

controlled prescription medications, from each other.

       8.        Under the Agreements, UNITED PHARMACY agreed to maintain

and satisfy all applicable licensing requirements of all applicable federal, state, and




1 UNITED PHARMACY has on multiple occasions requested an executed copy of the Prime Vendor
Agreement from CARDINAL HEALTH, but to date it has not been produced. Therefore, UNITED
PHARMACY hereby requests leave of court to file the Prime Vendor Agreement as an exhibit to this
Complaint once it is produced by CARDINAL HEALTH.


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local governmental authorities to purchase, receive, possess, store, use, dispense,

distribute, or otherwise dispose of pharmaceutical products.

      9.     UNITED PHARMACY has fully and completely complied with the

terms of the Agreements. See Affidavit of UNITED PHARMACY Pharmacist-

in-Charge Andy Rinchuso attached as Exhibit "C'.

      10.    On or about July 18, 2012, and October 25, 2012, CARDINAL

HEALTH informed UNITED PHARMACY that it wanted to conduct an audit,

which CARDINAL HEALTH calls a "QRA visit."

      11.    As it has always done when CARDINAL HEALTH requested a QRA

visit, UNITED PHARMACY agreed to fully cooperate with CARDINAL

HEALTH'S request.

      12.    On or about August 15, 2012, and November 15, 2012 (after the above

QRA visits, respectively), CARDINAL HEALTH informed UNITED PHARMACY

that its controlled prescription medication sales were above what CARDINAL

HEALTH considered normal for UNITED PHARMACY'S location and size.

CARDINAL HEALTH refused, however, to provide UNITED PHARMACY with

what it considered being normal for UNITED PHARMACY'S location and size.


      13.    UNITED PHARMACY explained that it is located next to medical

clinic specializing in the treatment of pain and operated by a board-certified

interventional pain specialist and, therefore, receives a high volume of prescriptions

from patients being seen at the clinic and wanting to conveniently fill their




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prescriptions      (information    about     this    pam    clinic   IS   available   at

http://www.unitedpaincare.com/arkansas.php).


      14.       UNITED PHARMACY also explained that both the pharmacy and

the clinic have specific protocols and policies to prevent the abuse and diversion of

controlled prescription medications. See Affidavit of UNITED PHARMACY

Pharmacist-in-Charge Andy Rinchuso attached as Exhibit "C'.


      15.       It is the strong public policy and law of the state of Arkansas that pain

should be treated as evidenced by the Arkansas Chronic Intractable Pain

Treatment Act, codified at Ark. Code Ann.§ 17-95-701 et. seq. Indeed, there the

Arkansas General Assembly found that:


                (1) Pain management plays an important role in good
                medical practice;

                (2) Physicians should recognize the need to make pain
                relief accessible to all patients with chronic intractable
                pain; and

                (3) Physicians should view pain management as a regular
                part of their medical practice for all patients with chronic
                intractable pain.

Id. at § 17-95-702.

      16.       UNITED PHARMACY has appealed and pleaded with CARDINAL

HEALTH to reconsider, but CARDINAL HEALTH has refused to reinstate the

Agreements and renew distribution of controlled prescription medications to

UNITED PHARMACY while, at the same time, stringing UNITED PHARMA.CY

along with hope that matters are still under review.


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       17.   Due to the highly regulated nature of the pharmacy business,

UNITED PHARMACY has been unable to arrange an alternative pharmacy

wholesale distributor. This, in turn, has burdened and endangered patients,

resulted the pharmacy now operating at a loss, and caused a loss of business and

associated good will. Additionally, because of CARDINAL HEALTH'S suspension

of the Agreements, UNITED PHARMACY is unlikely to be able to find an

alternative pharmacy wholesale distributor and, even if it could, one with the

selection and prices available to UNITED PHARMACY as a member of Pharmacy

Plus Programs,      LLC. As a       consequence,      CARDINAL HEALTH'S unjust

suspension of the Agreements will effectively put UNITED PHARMACY out of

business because it would be out-of-stock of controlled substances for an extended

period of time. See Affidavit of UNITED PHARMACY Pharmacist-in-Charge

Andy Rinchuso attached as Exhibit "C'.

                                             III.
                               CLAIMS FOR RELIEF


       First Claim: Tortious Interference With Business Relationships

      18.    UNITED PHARMACY incorporates by reference herein and re-

alleges all of the above allegations.

      19.    Pursuant to the terms of the Agreements, CARDINAL HEALTH was

required to supply UNITED PHARMACY with controlled prescription mediations

during the term of the Agreements so long as UNITED PHARMACY maintained

its licensure with all applicable federal, state, and local governmental authorities.



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      20.      UNITED PHARMACY has fully complied with all of the provisions of

the Agreements and completely met all of its obligations to CARDINAL HEALTH.

      21.      CARDINAL HEALTH has refused to provide controlled prescription

medications to UNITED PHARMACY as required by the Agreements.

      22.      CARDINAL HEALTH'S action to suspend shipment of controlled

prescription medications to UNITED PHARMACY has interfered with UNITED

PHARMACY'S contractual relationship and business expectancy with Pharmacy

Plus Programs, LLC and its patients as set forth in Arkansas Model Jury

Instructions (Civil) 403 and 404 and other applicable laws. This interference was

intentional and reckless entitling UNITED PHARMACY to punitive damages as

defined by Arkansas Model Jury Instructions (Civil) 2218.


                        Second Claim: Breach of Contract

      23.      UNITED PHARMACY incorporates by reference herein and re-

alleges all of the above allegations.

      24.      Pursuant to the terms of the Agreements, CARDINAL HEALTH was

required to supply UNITED PHARMACY with controlled prescription mediations

during the term of the Agreements so long as UNITED PHARMACY maintained

its licensure with all applicable federal, state, and local governmental authorities.

      25.      UNITED PHARMACY has fully complied with all of the provisions of

the Agreements and completely met all of its obligations to CARDINAL HEALTH.

      26.      CARDINAL HEALTH has refused to provide controlled prescription

medications to UNITED PHARMACY as required by the Agreements.


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      27.    CARDINAL HEALTH did not provide UNITED PHARMACY with

written notice of any alleged breach or an opportunity to cure any alleged breach as

required by the Agreements.

      28.    CARDINAL HEALTH'S action to suspend shipment of controlled

prescription medications to UNITED PHARMACY has breached UNITED

PHARMACY'S contractual relationship with CARDINAL HEALTH as set forth

in Arkansas Model Jury Instructions (Civil) 2401 and other applicable laws.

This breach entitles UNITED PHARMACY to attorney fees pursuant to Ark.

Code. Ann. § 16-22-308.

                                              IV.
             APPLICATION FOR TEMPORARY RESTRAINING ORDER
              WITHOUT NOTICE AND PRELIMINARY INJUNCTION


      29.    UNITED PHARMACY incorporates by reference herein and re-

alleges all of the above allegations.

      30.    The actions of CARDINAL HEALTH entitle UNITED PHARMACY

to a temporary restraining order without notice and preliminary injunction under

Fed R. Civ. P. 65.

      31.    The traditional purpose of a temporary restraining order and

preliminary injunction is to preserve the status quo until the court has had an

opportunity to hold a trial on the merits. In considering whether to grant a

preliminary injunction, a court must consider four factors: (1) the probability that

the movant will succeed on the merits; (2) the threat of irreparable harm; (3) the

state of balance between the threat of harm and the injury that granting the


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injunction will inflict on other parties; and (4) the public interest. Dataphase

Systems, Inc. v. C L Systems, Inc., 640 F.2d 109, 114 (8th Cir. 1981). The

district court's inquiry is an equitable one, requiring the court to consider "whether

the balance of equities so favors the movant that justice requires the court to

intervene to preserve the status quo until the merits are determined." Velek v.

Arkansas, 198 F.R.D. 661, 663 (E.D. Ark. 2001) (quoting Dataphase, 640 F.2d

at 113). No single factor is determinative, and the factors are not a rigid formula.

Id. The party seeking a preliminary injunction bears the burden of proving that an

injunction is necessary, and the decision to grant or deny the preliminary injunction

is within the broad discretion of the district court. Lankford v. Sherman, 451

F.3d 496, 503 (8th Cir. 2006); Gelco Corp. v. Coniston Partners, 811 F.2d 414,

418 (8th Cir. 1987).


                    A. THREAT OF IRREPARABLE HARM

      32.   At this point in the proceedings, UNITED PHARMACY'S motion for

temporary and preliminary injunctive relief primarily turns on the second

Dataphase factor, the threat of irreparable harm in the absence of a preliminary

injunction. "Perhaps the single most important prerequisite for the issuance of a

preliminary injunction is a demonstration that if it is not granted the applicant is

likely to suffer irreparable harm before a decision on the merits can be rendered ...

." 11A CHARLES ALAN WRIGHT, ARTHUR R. MILLER, & MARY KAY

KANE, FEDERAL PRACTICE AND PROCEDURE§ 2948.1, at 139 (2d ed.

1995). "There must be a likelihood that irreparable harm will occur . . . . [A]


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preliminary injunction will not be issued simply to prevent the possibility of some

remote future injury." Id. § 2948.1, at 153-55; see also Kaplan v. Bd. of Educ. of

City Sch. Dist. of City of New               York,    759 F.2d 256, 259 (2d Cir.

1985)     (predictions of havoc and unrest were too speculative to constitute clear

showing of immediate irreparable harm).

        33.   As demonstrated by affidavit of Andy Rinchuso, the actions of

CARDINAL HEALTH has basically destroyed UNITED PHARMACY'S ability to

serve the sick, diseased, and hurting patients in Arkansas who come for treatment

at the pain clinic next door and who need their medications. This has also destroyed

the patient's freedom of choice to choose the pharmacy of their choice, the

pharmacist-patient relationship, and the goodwill UNITED PHARMACY had

established   with   its   patients.   See Affidavit of UNITED         PHARMACY

Pharmacist-in-Charge Andy Rinchuso attached as Exhibit "C'.

        34.   Moreover, and as also demonstrated by affidavit of Andy Rinchuso a

preliminary injunction is necessary to maintain the status quo. The purpose of a

preliminary injunction is to preserve the status quo so that the court can render a

meaningful decision on the merits after a trial. See Penn v. San Juan Hosp., Inc.,

528 F.2d 1181, 1185 (lOth Cir. 1975) ("The object of the preliminary injunction is

to preserve the status quo pending the litigation of the merits."); Missouri-Kansas-

Texas R. Co. v. Randolph, 182 F.2d 996, 999 (8th Cir. 1950) ("A temporary

injunction is usually issued to preserve the status quo until a hearing on the merits

may be had."); United States v. Adler's Creamery, 107 F.2d 987, 990 (2d Cir.




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1939) (stating that a preliminary injunction's "ordinary function is to preserve the

status quo and it is to be issued only upon a showing that there would otherwise be

danger of irreparable injury"); 11A CHARLES ALAN WRIGHT, ARTHUR R.

MILLER, & MARY KAY KANE, FEDERAL PRACTICE AND PROCEDURE§

2947 (2d ed. 1995). "Ordinarily, the court in its discretion may grant a preliminary

injunction where it appears that there is a substantial controversy between the

parties and that one of them is committing an act or threatening the immediate

commission of an act that will cause irreparable injury or destroy the status quo of

the controversy before a full hearing can be had on the merits of the case, and

generally such an injunction will be granted whenever necessary to the orderly

administration of justice." Missouri-Kansas-Texas R. Co., 182 F.2d at 999

(quoting Benson Hotel Corp. v. Woods, 168 F.2d 694, 697 (8th Cir. 1948)).

      35.   Here, UNITED PHARMACY states that it is in compliance with all

applicable licensing requirements of all applicable federal, state, and local

governmental authorities to purchase, receive, possess, store, use, dispense,

distribute, or otherwise dispose of pharmaceutical products and has fully and

completely complied with the terms of the Agreements. UNITED PHARMACY

further states that it cannot arrange alternative supplies of controlled medications

and, therefore, it is burdensome and even dangerous to its patients who need pain

care, is causing UNITED PHARMACY to lose incalculable business and operate at

a loss, threatening its very existence, and is causing a loss of goodwill and

reputation, as well as causing current and prospective patients of the pharmacy to




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lose confidence in it as a stable source of prescription services at a time when their

medical conditions demand stability (which is especially damaging for a fairly new

pharmacy like UNITED PHARMACY that is trying to establish itself in a

competitive market). SeeMed. Shoppe Int'l, Inc. v. S.B.S. Pill Dr., Inc., 336

F.3d 801, 805 (8th Cir. 2003) (internal quotation marks omitted) ("Loss of

intangible assets such as reputation and goodwill can constitute irreparable injury .

. . . Harm to reputation and goodwill is difficult, if not impossible, to quantify in

terms of dollars.") The status quo will only continue to deteriorate for UNITED

PHARMACY.2


                                B. REMAINING FACTORS


       36.     The remaining factors that the Court must consider are the probability

of success on the merits, the balance of harms, and the public interest. As for the

probability that the UNITED PHARMACY will succeed on the merits at trial, it is

clear from affidavit of Andy Rinchuso that no diversions have taken place at his

pharmacy and that responsible controls to prevent such diversions are in place.

Indeed, Arkansas pharmacy regulations require these controls and the most recent

inspection by the Arkansas Board of Pharmacy found compliance with the

pharmacy regulations. See Ark. State Bd. Of Pharm. Reg. 04-00-0015

2 It is anticipated that CARDINAL HEALTH will argue that it has not shipped to UNITED
PHARMACY since February of 2012 and, therefore, there is no emergent need to change this status
quo. This argument, however, is misleading in light of the attached Affidavit of Andy Rinchuso that
demonstrates that UNITED PHARMACY has been strung along with repeated representations
that CARDINAL HEALTH was "working on a resolution of the issue." As Pharmacist-in-Charge
Rinchuso states, however, UNITED PHARMACY is now on the brink of going out of business and
has exhausted its ability to withstand the improper actions of CARDINAL HEALTH and service
his patients.


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(Responsibility for Security of Controlled Substances) and Affidavit of UNITED

PHARMACY Pharmacist-in-Charge Andy Rinchuso attached as Exhibit "C'.

On the other hand, CARDINAL HEALTH is evidently relying upon some rigid,

"one-size-fits-all" formula, which it has refused to identify, to "red-flag" UNITED

PHARMACY as a "potential" diverter of controlled substances without regard to

UNITED PHARMACY'S actual location next door to a pain clinic.

      37.    The other two factors--the public interest and the state of balance

between the threat of harm and the injury that granting the injunction will inflict

on other parties--are closely tied. Arkansas public policy as evidenced by the

Arkansas Chronic Intractable Pain Treatment Act points more strongly

toward granting an injunction than not, in part because of the nature of the very

vulnerable patient population of UNITED PHARMACY and its irreversible loss of

business, goodwill, and reputation.

      38.    For these reasons, UNITED PHARMACY requests that the court

issue an order providing immediate relief to it and order CARDINAL HEALTH to

resume it shipments to UNITED PHARMACY as provided by the Agreements.


                                            v.
                                        DAMAGES
      39.    As a proximate result of the above conduct, UNITED PHARMACY

has suffered and will continue to suffer irreparable harm, economic damages, and

other injuries and is entitled to damages that will reasonably and fairly compensate

it for the lost profits, loss of good will and reputation, and all other compensatory,




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consequential, and incidental damages, including without limitation reasonable

costs and attorney fees, and other injuries that UNITED PHARMACY has

incurred and will continue to mcur, all in an amount exceeding the minimum

amount required for federal court jurisdiction in diversity of citizenship cases.

Moreover, because       CARDINAL HEALTH'S conduct was intentional, and

CARDINAL HEALTH knew or should have known, in light of the surrounding

circumstances, that its conduct would naturally and probably result in injury, yet

CARDINAL HEALTH still failed to discharge its responsibilities to UNITED

PHARMACY and continued its conduct in reckless disregard and with a conscious

indifference for UNITED PHARMACY'S contractual relationships and business

expectancies causing UNITED PHARMACY to suffer the injuries set forth herein,

CARDINAL HEALTH is liable for punitive damages in an amount exceeding the

minimum amount required for federal court jurisdiction in diversity of citizenship

cases and sufficient to punish CARDINAL HEALTH and deter it and others from

similar conduct.

                                        VI.
                           REQUEST FOR JURY TRIAL
          40.   UNITED PHARMACY requests a trial by a 12-person jury on all jury
Issues.
                                        VII.
                              PRAYER FOR RELIEF

          THEREFORE, plaintiff, UNITED PHARMACY, respectfully requests the

following relief:




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       (A)    A temporary restraining order without notice and preliminary

injunction pending a trial on the merits;

       (B)    A judgment against CARDINAL HEALTH, jointly and severally, for

all general and special compensatory damages caused by its conduct of in an

amount exceeding the minimum amount required for federal court jurisdiction in

diversity of citizenship cases and as proven at trial;

      (C)     A judgment against CARDINAL HEALTH, for punitive damages in

an amount necessary and sufficient to punish and deter it and others from similar

conduct in an amount exceeding the minimum amount required for federal court

jurisdiction in diversity of citizenship cases and as proven at trial;

      (D)     All costs and attorney fees expended herein;

      (E)     A trial by a 12-person jury on all jury issues;

      (F)     All other relief to which he is entitled or that the Court deems just and

proper.

                                  Respectfully submitted,


                                  IY\' ~~-Jfl~..)
                                             .   }
                                  M. Darren O'Quinn, AR Bar #87 -125
                                  LAW OFFICES OF DARREN O'QUINN PLLC
                                  Plaza West Building
                                  415 N. McKinley, Suite 1000
                                  Little Rock, AR 72205
                                  (501) 975-2442 telephone
                                  (501) 975-2443 facsimile
                                  Darren@DarrenOQuinn.com email

                                  Attorney for Plaintiffs




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                      FED. R. CIV. P. 65(b)(1)(B) VERIFICATION

        Plaintiffs counsel, M. Darren O'Quinn, of lawful age, being first duly sworn

and upon oath, state:

        1.       Plaintiffs counsel has been in contact with CARDINAL HEALTH

counsel Joseph E. Ezzie of BakerHostetler, Capitol Square 65 East State

Street, Suite        2100 Columbus, OH            43215-4260       (T:      614.462.4758; Email:

jezzie@bakerlaw.com) and Leigh M. Chiles of Baker, Donelson, Bearman,

Caldwell & Berkowitz, PC, First Tennessee Building, 165 Madison Avenue,

Suite        2000,   Memphis,     TN     38103      (Direct     Dial:       901.577.2207;   Email:



        2.       These attorneys have agreed to accept service of this Complaint, which

has been accomplished by providing a copy of it to them this date, and have

requested notice of any temporary restraining order hearings.

        3.       Plaintiffs counsel verifies the foregoing facts as true and correct to the

best of his knowledge and belief.


                                                              M. Darren O'Quinn

Subscribed and sworn to before me this 10._ day of January, 2




My commission expires:
                                                 HILARY SHRUM
                                            Arkansas • Pulaski County
                                        Notary Public • Comm# 12365421
                                       My commission Expires Mar 31, 2018




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                                                                                               EXHIBIT A

                                             List of Members

                                           United Pain Care
                                          7481 Warden Road
                                         Sherwood, AR 72120


                                                                                               EXHmiTB


                              PHARMACY PLUS PROGRAMS, LLC
                             MEMBER CERTIFICATION AGREEMENT
                               FOR UNITED PAIN CAREl

        This Pharmacy Plus Programs, LLC Member Certification Agreement (the "Certification
Agreemenf') is made and entered into by and between UNITED PAIN CARE and Cardinal Health
110, Inc. ("Cardinal Health").

1.       Member Certification

        The undersigned is a member ("Member") of the Pharmacy Plus Programs, LLC ("Group")
network of providers of pharmaceuticals and has elected to purchase pharmaceuticals from Cardinal
Health under the terms of that certain Prime Vendor Agreement by and between Group and Cardinal
Health which was effective as of August 9, 2010 (the "Prime Vendor Agreement").

        The Member certifies, through an authorized representative, that the Member has received a copy
of the Prime Vendor Agreement, and has carefully read and fully understands the material terms of the
Prime Vendor Agreement and the Member's and Cardinal Health's rights and responsibilities Wlder the
Prime Vendor Agreement. The Member further certifies that throughout the remainder of the term of the
Prime Vendor Agreement, and as part of the consideration for Cardinal Health continuing to sell
pharmaceuticals to the Member, the Member agrees to be bound by the terms of the Prime Vendor
Agreement.

2.      Capitalized Terms

       All capitalized terms used in this Certification Agreement not otherwise defined herein shall have
the same meaning as is ascribed to them in the Prime Vendor Agreement.

3.      Term

         This Certification Agreement shall be effective as of 11/18, 2010. and shall continue in effect
thereafter throughout the shorter of: (a) the remainder of the term of the relationship between Cardinal
Health and Group under the Prime Vendor Agreement or (b) the remainder of the ten.n of the relationship
between Group and Member.

4.      Licensure & Own Use

        Member represents and warrants to Cardinal Health that Member has complied with, and is
currently and will be at all times during the term in compliance with, all applicable licensing requirements
of all applicable federal, state are local governmental authorities, including without limitation any
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 licensing requirements to purcha-se, receive, possess, store, use~ dispense, and/or distribute or otherwise
 dispose of pharmaceutical products. Prior to purchasing Rx Products from Cardinal Health hereunder and
 at all times during the term of this Certi.fication Agreement, Member will provide Cardinal Health with
 copies of all such licenses and any renewals, revocations, changes or notices related thereto. All
 purchases by the Member undet the Pri111e Vendor Agreement will be fot: tl1e Membees "own use" as that
 term is defined in judicial or legislative interpretation and shall not be sold to anyone other than an end
 user. Cardinal Health may tenllirtate this Cel'tification Agreement and Member's participation under the
 Prime Vendor Agreement iminediately in the event it reasonably detennines that the is in breach of this
 paragraph.

· 5.       Miscellaneous

          No waiver of any right or remedy by Cardinal Health shall constitute a subsequent waiver of the
 same right or remedy. No changes to this Certification Agreement shall be made or be binding on either
 party unless made in writing and signed by both parties to this Agreement. The validity and interpretation
 of this Certification Agreement shall be detemrined by the laws of the State of Ohio, excluding its
 conflicts of laws provisions. This Certification Agreement shall not be assigned by either party without
 the prior written consent of the other party; provided, however, Cardinal Health may assign its rights and
 obligations hereunder without such consent to any entity which is controlled by or under common control
 with Cardinal Health, Inc.


 UNITED PAIN CARE                                         Cardinal Health UO, Inc.
 27481 Warden Road                                               7000 Cardinal Health Place
 Sherwood,AR,72120                                               Dublin, Ohio 43017
                                                          Telecopy: (614 7 -6000
                                                                     7
                                                          By:.~~~~----~~-----------­
 Title: Owner                                             Title:.....;.....;-="""'"',.=....t.,;,....:;.::;~~------
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                        Exhibit B


     Requested from Cardinal Health per Footnote
1 of Complaint.
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                                     EXHIBIT "C"



          AFFIDAVIT AND VERIFICATION OF ANDY RINCHUSO, P.D.


STATE OF ARKANSAS                  )
                                   ) ss
COUNTY OF PULASKI                  )



         I, Andy Rinchuso, P.D., of lawful age, being first duly sworn and upon oath,
state:

         1.    I am a pharmacist licensed by the state of Arkansas and the licensed

pharmacist-in-charge of United Pharmacy in good standing with the Arkansas

State Board of Pharmacy.

         2.    I have read the foregoing Complaint and understand its contents. I

hereby state that the facts set forth in the Complaint and this Affidavit are true and

correct to the best of my knowledge and belief.

         3.    If an injunction is not granted in this matter to maintain the status

quo, United Pharmacy and its patients will suffer immediate and irreparable injury,

loss, or damage as evidenced by the following:

               a)     Cardinal Health has cut-off the supply of any controlled

         substances to United Pharmacy, but led me to believe that its

         representatives were working on a resolution of the issue.

               b)     It is now apparent that Cardinal Health is not going to

         resume its duties under the Agreements. United Pharmacy has been




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operating at a loss smce Cardinal Health cut-off our supplies

(currently an 85% loss in business not including new customers and

goodwill).

      c)     United Pharmacy is completely out of Schedule-II

controlled prescription medications (also known as C-II and the ones

primarily used for serious and chronic pain).       Despite numerous

efforts, the pharmacy has been unable to obtain an alternate supply-

the reason being given to me is that if Cardinal Health will not supply

us then neither can they.

      d)     It is burdensome, impractical, and sometimes impossible

for a patient to fill all non-C-II mediations at United Pharmacy and

then attempt to fill the balance of the C-II medications at another

pharmacy. Some patients have told me that other pharmacies make

them feel like second class citizens if they are only filling pain

medications-the implication being that they are drug seeking and not

really in pain. Others have limited transportation and mobility and are

unable to conveniently travel to multiple locations for their doctor

appointments and prescriptions. As a consequence, Cardinal Health

has basically destroyed our ability to serve the sick, diseased, and

hurting patients in North Little Rock and surrounding areas who come

for treatment at the pain clinic next door and need their medications.

This has also destroyed the patient's freedom of choice to choose the




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       pharmacy of their choice, the pharmacist-patient relationship, the

       goodwill we had established with the patients and the pharmacy's

      reputation, and has caused current and prospective patients of the

      pharmacy to lose confidence in it as a stable source of prescription

       services at a time when their medical conditions demand stability

       (which is especially damaging for a fairly new pharmacy like UNITED

       PHARMACY that is trying to establish itself in a competitive market).

       4.    United Pharmacy has and has always maintained and satisfied all

applicable licensing requirements of all applicable federal, state, and local

governmental authorities to purchase, receive, possess, store, use, dispense,

distribute, or otherwise dispose of pharmaceutical products and has fully and

completely complied with the terms of the Agreements as evidenced by the

following:

             a)    United Pharmacy fills a high volume of controlled

      substance prescriptions because it is located next to a pain clinic. In

      my opinion as a pharmacist, the pain clinic is a reputable clinic and is

      operated    by   a   board-certified   interventional   pam    specialist

      (http://www. united paincare.com/ar kansas.php).

             b)    I have personally discussed with the pam clinic and

      reviewed the pain clinic's policies and procedures in place to prevent

      the diversion of controlled substances. These policies and procedures

      are outstanding and are attached as Exhibit "1" to this affidavit.




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      c)       In addition to these pain clinic policies and procedures, I

have an independent and corresponding duty under federal and state

law to prevent the diversion of controlled substances from United

Pharmacy. In this regard, the following policies and procedures are

used by the pharmacy to guard against theft and diversion of

controlled substances:

           ~   an alarm system in case of a break-in;

           ~   multiple security cameras;

           ~   only the pharmacist-in-charge has keys to the

      pharmacy;

           ~   only the pharmacist-in-charge orders controlled

      substances;

           ~   only the pharmacist-in-charge checks in deliveries

      of controlled substances and this is done immediately to

      ensure accuracy;

           ~   only the pharmacist-in-charge dispenses controlled

      substances;

           ~   all   controlled   substances     are   stored   m   the

      pharmacy in accordance with DEA security requirements

      (21 CFR §1301.75);




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        ~    Large quantities of controlled substances are stored

     m a securely locked, substantially constructed separate

     safe;

        ~    The pharmacist-in-charge keeps inventories of

     controlled substances as required by 21 CFR §1304.11;

        ~    The dispensing pharmacist-in-charge has the duty

     to maintain a constant vigilance against forged or altered

     prescriptions. The law holds the pharmacist has a

     corresponding     responsibility     for   assurmg    that   a

     prescription for controlled substances is written for a

     legitimate medical purpose by a practitioner acting in the

     usual course of his professional practice (21 CFR §1306.04

     (a)) (compliance with this requirement is simplified by the

     working relationship established between the pharmacy

     and the pain clinic);


        ~    The pharmacist-in-charge is familiar with the U. S.

     Department of Justice Drug Enforcement Administration

     website    and   its    pharmacist     guide   for   controlled

     substances (found at




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              http:/fwww.deadiversion. usdoi. gov/pubs/man ~tals/pharm2/

              in!i~~hh!mJ)   and A Pharmacist's Guide to Prescription

              Fraud

              (http;l/www.deadiversion.usdoi,_gQv/pubs/brochures/phg_Dl!

              guide.htm)

              d)      The latest inspection conducted by the Arkansas State

      Board of Pharmacy found no deficiencies in complying with the above

      laws and I am aware of none.

      5.      Pain is a legitimate medical condition for which controlled

substances were developed to treat. My obligations as a pharmacist are to

dispense medications for legitimate medical purposes while, at the same

time, being on guard for diversion of medications. I take these obligations

very seriously and to the best of my information, knowledge, and belief my

obligations   have    been    ethically and   legally fulfilled   at   UNITED

PHARMACY.

FURTHER AFFIANT SAYETH NOT.




Subscribed and sworn to before me this _ff_ day of January, 2013.

                                                       ~7
                                                     .~·~. 15; c.-e.
                                                     Notary Public

My commission expires:




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                                      *************
                                          UNITED PAIN CARE
              iii: (501) 834 PAIN (7246)       www.unitedpaincare.com           ~: (501) 542 4295

       PRACTICE FEATURES            To PREVENT DIVERSION OF CONTROLLED SUBSTANCES

PRACTICE PROFILE

1. Dr Mahmood Ahmad is Board Certified in Pain Medicine since 1998 by The American Board of
    Anesthesiology. He is well published and a speaker for Pharmaceuticals and Toxicology (see CV)
2. Interventional pain practice to wean or reduce narcotic requirements                   ·
3. Sees all patients himself, there are no Nurse Practitioners, Physician Assistants
4. Pain Pump patients with high success rate for patients with high narcotic requirements
5. Spinal cord stimulator patients completely weaned off opioids
6. Schedule II patients never mailed prescriptions. Face-to-face visits are mandatory
7. No police reports accepted
8. No early refills
9. If there is travel, gas receipts or airline ticket copies are kept on file
10. No prescriptions are called in
11. No treatments over the phone
12. Pill-Counts
13. Prescription labels or bottles to verify they have filled medications
14. Patients are accepted through physician referral only

SIGNED AGREEMENT FOR TREATMENT OF PAIN WITH CONTROLLED SUBSTANCES

1.   Educational Consent Form (attached)
2.   Responsibilities for practitioner and patient are defined
3.   Strict compliance is enforced with regards to lost or stolen medications
4.   Pharmacy Consent

RANDOM URINE TESTING

l. Urine drug levels
2. Samples taken in the clinic for spot testing for consistency

PRESCRIPTION WRITER

1. Locked printer
2. Electronic prescriptions
3. Always Legible
4. No spelling errors
5. Pill count with end date
6. Do not fill before date feature
7. Boxed format
8. Clinic logo
9. Security features on paper
10. Paper difficult to obtain ·
11. Will give VOID on copy machines
12. Blue shade background
13. Watermark
14. Scanned image of each prescription is kept in chart

                                                                                                    EXHIBIT


                                           7481 Warden Rd, Sherwood, AR 72120
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BUILDING CONFIGURATION: WAITING ROOMS LOCKED TO PATIENT AREAS

Dr Ahmad was issued a license by the Arkansas State Board of Pharmacy for a retail pharmacy on site in
the clinic in January 2010. Dr. Ahmad presented the case in front of the board members.

Pharmacy has been able to monitor the medications.

Avoid diversion to get the medications from one pharmacy.

The pharmacist can alert me if they have been filling medications elsewhere.

They cannot copy my prescriptions

TO DATE > 150 patients have been fired for suspected diversion.
